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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA            )
                                    )                 CRIMINAL No. 1:21CR00158-KBJ
       v.                           )
                                    )                 Status Hearing Date: May 7, 2021
Kyle Fitzsimons                     )
       Defendant                    )                 The Honorable Ketanji Brown Jackson
____________________________________)

                          MOTION TO WITHDRAW AS COUNSEL

       COMES NOW Gregory T. Hunter and Joel Anders, Counsel for the Defendant, Kyle

Fitzsimons, to move this Honorable Court to permit them to withdraw as Counsel for the

Defendant.

       In support of this Motion, Counsel asserts the following:

       1. Mr. Fitzsimons was arrested in the District of Maine on February 4, 2021 and

             made his first appearance in that court the next day. He was committed to this

             District on February 11, 2021.

       2. Mr. Fitzsimons made his first appearance in this Court on March 29, 2021.

       3. Mr. Fitzsimons had a detention hearing before Magistrate Judge G. Michael

             Harvey on April 6, 2021. Following a brief continuance, that hearing was

             completed on April 7, 2021 and bond was denied.

       4. Mr. Fitzsimons was indicted on February 26, 2021, and arraigned before the

             Honorable Reggie B. Walton on April 22, 2021.

       5. A status hearing is set for May 7, 2021 at 3:00 p.m.

       6. Mr. Fitzsimons has asked that Counsel withdraw and ask the Court to appoint the

             Federal Public Defender to represent him.
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       7. Mr. Fitzsimons is currently incarcerated and has been since his arrest three

           months ago. He is indigent, making the appointment of counsel appropriate.

       8. This case is still at a very early stage – discovery has only just begun and a trial

           date has not yet been set – so Counsel may withdraw without prejudice to the

           Defendant or the United States.

       9. Counsel stands ready to protect Mr. Fitzsimons’ interests until they are relieved.

For the reasons stated above, Counsel respectfully requests that this motion be granted,

allowing for leave to withdraw and the appointment of the Federal Public Defender

                                                      Respectfully Submitted,

                                                      ___________/S/________________
                                                      Gregory T. Hunter
                                                      Virginia State Bar Number 45489
                                                      Attorney for the Defendant
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                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on the 3rd day of May, 2021, an exact copy of the
foregoing Position of the Defense was filed with the Clerk of the Court using the CM/ECF
system, causing a Notice of Electronic Filing to be served upon:

Puja Bhatia, Esquire
Assistant United States Attorney
U.S. Attorney’s Office for the District of Columbia
555 4th Street NW
Washington, DC 20530

Brandon Regan, Esquire
Assistant United States Attorney
U.S. Attorney’s Office for the District of Columbia
555 4th Street NW
Washington, DC 20530

Copies of this document have been forwarded to the following non-filing users:
By First Class Mail:
       Kyle Fitzsimons
       Defendant
       DC Jail

                                                      ___________/S/________________
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                                                      Arlington, Virginia 22201
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